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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

ERIC WANG, *
Plaintiff *
v. * Civil Action No: 8: l7-cV-0213 l-GJH
THE CITY OF ROCKVILLE, *
Defendant *
* * * * * * * * * * * * * * *

MOTION FOR SUMMARY IUDGMENT
The City of Rockville, Defendant, by KARPINSKI, COLARESI & KARP and
DANIEL KARP, its attorneys, moves for summary judgment pursuant to Rule 56 of the
Federal Rules of Civil Procedure, on the ground that there are no genuine disputes of
material fact and it is entitled to summary judgment as a matter of laW, as set forth

more fully in the memorandum filed herewith.

KARPINSKI, COLARESI & KARP

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Attorneys for Defendant

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 6th day of August 2018, a copy of the foregoing
Motion for Summary ]udgment Was electronically filed, With notice to:

Eric Wang, Pro Se
38 Maryland Avenue, Unit 515
Rockville, Maryland 20850

]lcfrlaw@gmail.com

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Of Counsel for Defendant

 

